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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION



UNM RAINFOREST INNOVATIONS,

                        Plaintiff,

v.
                                                        Civil Action No. 6:20-CV-00468-ADA
DELL TECHNOLOGIES INC., DELL INC.,
and EMC CORPORATION,

                        Defendants.


                     CONFIDENTIALITY AND PROTECTIVE ORDER

        WHEREAS, Plaintiff UNM Rainforest Innovations and Defendants Dell Technologies Inc.,

Dell Inc., and EMC Corporation, hereafter referred to as “the Parties,” believe that certain information

that is or will be encompassed by discovery demands by the Parties involves the production or

disclosure of trade secrets, confidential business information, or other proprietary information;

        WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

Federal Rule of Civil Procedure 26(c):

        THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.      Each Party may designate as confidential for protection under this Order, in whole or in part,

        any document, information or material that constitutes or includes, in whole or in part,

        confidential or proprietary information or trade secrets of the Party or a Third Party to whom

        the Party reasonably believes it owes an obligation of confidentiality with respect to such

        document, information or material (“Protected Material”). Protected Material shall be

        designated by the Party producing it by affixing a legend or stamp on such document,

        information, or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

        shall be placed clearly on each page of the Protected Material (except deposition and hearing


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      transcripts) for which such protection is sought. For deposition and hearing transcripts,

      the word “CONFIDENTIAL” shall be placed on the cover page of the transcript (if not

      already present on the cover page of the transcript when received from the court reporter)

      by each attorney receiving a copy of the transcript after that attorney receives

      notice of the designation of some or all of that transcript as “CONFIDENTIAL.”

2.    Any document produced before issuance of this Order with the designation “Confidential”

      or “Confidential - Outside Attorneys’ Eyes Only” shall receive the same treatment as if

      designated “RESTRICTED - ATTORNEYS’ EYES ONLY” under this Order, unless and

      until such document is redesignated to have a different classification under this Order.

3.    With respect to documents, information or material designated “CONFIDENTIAL” or

      “RESTRICTED - ATTORNEYS’ EYES ONLY” 1 subject to the provisions herein and

      unless otherwise stated, this Order governs, without limitation: (a) all documents,

      electronically stored information, and/or things as defined by the Federal Rules of Civil

      Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits

      or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings

      and other court filings; (d) affidavits; and (e) stipulations.     All copies, reproductions,

      extracts, digests and complete or partial summaries prepared from any DESIGNATED

      MATERIALS shall also be considered DESIGNATED MATERIAL and treated as such

      under this Order.

4.    A designation of Protected Material (i.e., “CONFIDENTIAL” or “RESTRICTED -

      ATTORNEYS’ EYES ONLY”) may be made at any time. Inadvertent or unintentional



      1
          The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
to the class of materials designated as “CONFIDENTIAL” or “RESTRICTED - ATTORNEYS’
EYES ONLY,” both individually and collectively.


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     production of documents, information, or material that has not been designated as

     DESIGNATED MATERIAL shall not be deemed a waiver in whole or in part of a claim for

     confidential treatment. Any party that inadvertently or unintentionally produces Protected

     Material without designating it as DESIGNATED MATERIAL may request destruction of

     that Protected Material by notifying the recipient(s), as soon as reasonably possible after the

     producing Party becomes aware of the inadvertent or unintentional disclosure, and

     providing replacement Protected Material that is properly designated. The recipient(s) shall

     then destroy all copies of the inadvertently or unintentionally produced Protected Materials

     and any documents, information, or material derived from or based thereon.

5.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

     following persons, except upon receipt of the prior written consent of the designating party,

     upon order of the Court, or as set forth in paragraph 12 herein:

     (a)    outside counsel of record in this Action for the Parties;

     (b)    employees of such counsel assigned to and reasonably necessary to assist such
            counsel in the litigation of this Action;

     (c)    in-house counsel for the Parties who either have responsibility for making decisions
            dealing directly with the litigation of this Action, or who are assisting outside
            counsel in the litigation of this Action;

     (d)    up to and including three (3) designated representatives of each of the Parties to the
            extent reasonably necessary for the litigation of this Action, except that either party
            may in good faith request the other party’s consent to designate one or more
            additional representatives, the other party shall not unreasonably withhold such
            consent, and the requesting party may seek leave of Court to designate such
            additional representative(s) if the requesting party believes the other party has
            unreasonably withheld such consent;

     (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party or
            an affiliate of a Party) retained for the purpose of this litigation, provided that: (1)
            such consultants or experts are not presently employed by the Parties hereto for
            purposes other than this Action or related actions or post-grant proceedings
            involving the same patents-in-suit; (2) before access is given, the consultant or



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            expert has completed the Undertaking attached as Exhibit A hereto and the same is
            served upon the producing Party with a current curriculum vitae of the consultant or
            expert at least ten (10) days before access to the Protected Material is to be given
            to that consultant or Undertaking to object to and notify the receiving Party in
            writing that it objects to disclosure of Protected Material to the consultant or expert.
            The Parties agree to promptly confer and use good faith to resolve any such
            objection. If the Parties are unable to resolve any objection, the objecting Party
            may file a motion with the Court within five (5) days of the notice of objection, or
            within such other time as the Parties may agree, seeking a protective order with
            respect to the proposed disclosure. The objecting Party shall have the burden of
            proving the need for a protective order. No disclosure shall occur until all such
            objections are resolved by agreement or Court order;

     (f)    independent litigation support services, including persons working for or as court
            reporters, graphics or design services, jury or trial consulting services, and
            photocopy, document imaging, and database services retained by counsel and
            reasonably necessary to assist counsel with the litigation of this Action; and

     (g)    the Court and its personnel.

6.   A Party shall designate documents, information, or material as “CONFIDENTIAL”

     only upon a good faith belief that the documents, information, or material contains

     confidential or proprietary information or trade secrets of the Party or a Third Party to

     whom the Party reasonably believes it owes an obligation of confidentiality with respect to

     such documents, information, or material.

7.   Documents, information or material produced pursuant to any discovery request in this

     Action, including but not limited to Protected Material designated as DESIGNATED

     MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

     be used for any other purpose. Any person or entity who obtains access to DESIGNATED

     MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

     duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

     portion thereof except as may be reasonably necessary in the litigation of this Action. Any

     such copies, duplicates, extracts, summaries or descriptions shall be classified




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      DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.    To the extent a producing Party believes that certain Protected Material qualifying to be

      designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

      limitation, the producing Party may designate such Protected Material “RESTRICTED --

      ATTORNEYS’ EYES ONLY.”

9.    For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY, access

      to, and disclosure of, such Protected Material shall be limited to individuals listed in

      paragraphs 5(a-g); provided, however, that access by in-house counsel pursuant to paragraph

      5(c) shall be limited to in-house counsel who exercise no competitive decision-making

      authority on behalf of the client, and access by party representatives pursuant to paragraph

      5(d) be limited to no more than two (2) representatives who exercise no competitive

      decision-making authority on behalf of the client.

10.   The Parties do not presently believe that any Party will produce source code, and that any

      anticipated source code production will be by third parties, which may produce source code

      subject to a supplemental protective order. In the event that any Party determines that it

      will produce source code, the Parties will negotiate in good faith a supplemental protective

      order governing the treatment of source code.

11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that is

      designated RESTRICTED -- ATTORNEYS’ EYES ONLY (“HIGHLY SENSITIVE

      MATERIAL”), who obtains, receives, accesses, or otherwise learns, in whole or in part,

      the other Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not prepare,

      prosecute, supervise, or assist in the preparation or prosecution of any patent application




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      pertaining to the field of the invention of the patents-in-suit on behalf of the receiving Party

      or its acquirer, successor, predecessor, or other affiliate during the pendency of this Action

      and for one year after its conclusion, including any appeals. To ensure compliance with the

      purpose of this provision, each Party shall create an “Ethical Wall” between those persons

      with access to HIGHLY SENSITIVE MATERIAL and any individuals who, on behalf of

      the Party or its acquirer, successor, predecessor, or other affiliate, prepare, prosecute,

      supervise or assist in the preparation or prosecution of any patent application pertaining to

      the field of invention of the patent-in-suit. This provision does not prohibit a Party’s

      counsel of record or experts from participating in reexamination proceedings, Post-Grant

      Review proceedings, Inter Partes Review proceedings, Covered Business Method Review

      proceedings, or any other proceedings in the U.S. Patent and Trademark Office involving

      any of the Party’s patents, except that counsel or experts with access to HIGHLY

      SENSITIVE MATERIAL shall not draft or participate in drafting amended claims. The

      duration of this section may be terminated earlier by agreement of the Parties (e.g., in the

      case of settlement).

12.   Nothing in this Order shall require production of documents, information, or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. If documents, information or

      other material subject to a claim of attorney-client privilege, work product doctrine, or other

      privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

      production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

      any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

      produces documents, information or other material it reasonably believes are protected under




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      the attorney-client privilege, work product doctrine, or other privilege, doctrine, or immunity

      may obtain the return of such documents, information or other material by promptly

      notifying the recipient(s) and providing a privilege log for the inadvertently or

      unintentionally produced documents, information or other material. The recipient(s) shall

      gather and return all copies of such documents, information, or other material to the

      producing Party, except for any pages containing privileged or otherwise protected markings

      by the recipient(s), which pages shall instead be destroyed and certified as such to the

      producing Party.

13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information, and

      material to protect against disclosure to any unauthorized persons or entities.

14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

      the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

      access to the DESIGNATED MATERIAL by virtue of his or her employment with the

      designating party, (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

      or copy recipient of such information, (iii) although not identified as an author, addressee,

      or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

      business, seen such DESIGNATED MATERIAL, (iv) a current or former officer, director

      or employee of the producing Party or a current or former officer, director or employee of

      a company affiliated with the producing Party; (v) counsel for a Party, including outside

      counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent




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      contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

      reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

      access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be disclosed

      to any other persons unless prior authorization is obtained from counsel representing the

      producing Party or from the Court.

15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

      deposition or hearing transcript, designate the deposition or hearing transcript or any portion

      thereof as “CONFIDENTIAL” or “RESTRICTED - ATTORNEY’ EYES ONLY”

      pursuant to this Order. Access to the deposition or hearing transcript so designated shall

      be limited in accordance with the terms of this Order.       Until expiration of the 30-day

      period, the entire deposition or hearing transcript shall be treated as confidential.

16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. The filing party shall be responsible

      for filing such material under seal pursuant to the Court’s Standing Order (Docket No. 57).

      Exhibits to a filing shall conform to the labeling requirements set forth in this Order. If a

      pretrial pleading filed with the Court, or an exhibit thereto, discloses or relies on

      confidential documents, information, or material, such confidential portions shall be

      redacted to the extent necessary and the pleading or exhibit filed publicly with the Court.

      If any Party files a motion or other paper containing any DESIGNATED MATERIAL to

      be placed under seal, the filing Party shall immediately deliver by e-mail a copy of the

      complete, unredacted document(s) to the non-filing Party.

17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of




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      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court.

18.   A Party may request in writing to the other Party that the designation given to any

      DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

      not agree to redesignation within seven (7) days of receipt of the written request, the

      requesting Party may apply to the Court for relief. Upon any such application to the Court,

      the burden shall be on the designating Party to show why its classification is proper. Such

      application shall be treated procedurally as a motion to compel pursuant to Federal Rules

      of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

      such application, the requirements of the Federal Rules of Civil Procedure and the Local

      Rules of the Court shall be met. Pending the Court’s determination of the application, the

      designation of the designating Party shall be maintained.

19.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

      accordance with the terms of this Order shall be advised by counsel of the terms of this

      Order, shall be informed that he or she is subject to the terms and conditions of this Order,

      and shall sign an acknowledgment that he or she has received a copy of, has read, and has

      agreed to be bound by this Order. A copy of the acknowledgment form is attached as

      Appendix A.

20.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contended the discovery sought

      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order.

21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may




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      designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES ONLY”

      any documents, information or other material, in whole or in part, produced or given by

      such Third Parties. The Third Parties shall have ten (10) days after production of such

      documents, information, or other materials to make such a designation.       Until that time

      period lapses or until such a designation has been made, whichever occurs sooner, all

      documents, information or other material so produced or given shall be treated as

      “CONFIDENTIAL” in accordance with this Order.

22.   Within thirty (30) days of final termination of this Action, including any appeals, all

      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

      descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

      into any privileged memoranda of the Parties and materials which have been admitted into

      evidence in this Action), shall at the producing Party’s election either be returned to the

      producing Party or be destroyed. The receiving Party shall verify the return or destruction

      by affidavit furnished to the producing Party, upon the producing Party’s request.

23.   The failure to designate documents, information, or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a

      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information and

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

24.   Any Party knowing or believing that any other party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing

      party and has been unable to resolve the matter by agreement may move the Court for such




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      relief as may be appropriate in the circumstances.        Pending disposition of the motion by

      the Court, the Party alleged to be in violation of or intending to violate this Order shall

      discontinue the performance of and/or shall not undertake the further performance of any

      action alleged to constitute a violation of this Order.

25.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

      publication of the documents, information and material (or the contents thereof) produced

      so as to void or make voidable whatever claim the Parties may have as to the proprietary and

      confidential nature of the documents, information or other material or its contents.

26.   Each party warrants and undertakes that it has in place and maintains appropriate physical,

      organizational and technical controls and procedures to protect against any unauthorized

      access, theft, use or disclosure of DESIGNATED MATERIAL. In the event that any

      party, or any employee, agent or contractor of a party that has been permitted access to

      DESIGNATED MATERIAL, learns of any accidental, unlawful, or unauthorized

      disclosure, misuse, loss, theft, access, copying, use, modification, disposal, compromise,

      or access to DESIGNATED MATERIAL, such party shall immediately inform the

      producing Party, and shall cooperate in any reasonable investigation to determine the

      scope of DESIGNATED MATERIAL so impacted.

27.   Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of any

      kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

28.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

      Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

      if reasonably necessary to prepare and present this Action and (b) to apply for additional

      protection of DESIGNATED MATERIAL.




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SIGNED on April 1, 2021.




Respectfully Submitted,
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                                            DELL TECHNOLOGIES, INC.,
                                            DELL INC., AND EMC CORPORATION



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                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

UNM RAINFOREST INNOVATIONS,

                     Plaintiff,

v.                                                Civil Action No. 6:20-CV-00468-ADA
DELL TECHNOLOGIES INC., DELL INC.,
and EMC CORPORATION,

                     Defendants.

                             APPENDIX A
               UNDERTAKING REGARDING PROTECTIVE ORDER

I,                                  , declare that:

1.   My address is                                                                              .

     My current employer is                                                                     .

     My current occupation is                                                                   .

2.   I have received a copy of the Protective Order in this action. I have carefully read and
     understand the provisions of the Protective Order.

3.   I will comply with all of the provisions of the Protective Order. I will hold in confidence,
     will not disclose to anyone not qualified under the Protective Order, and will use only for
     purposes of this action any information designated as “CONFIDENTIAL” or
     “ATTORNEYS EYES ONLY” that is disclosed to me.

4.   In the event I become aware that any of my computer systems may have been
     compromised, or any of my electronic data may have been obtained by others without my
     consent, I will immediately inform outside counsel for the party by whom I am
     employed. I will cooperate with any reasonable investigation regarding whether any
     information subject to this Protective Order was obtained by outside parties.

5.   Promptly upon termination of these actions, I will return all documents and things
     designated as “CONFIDENTIAL” or “ATTORNEYS EYES ONLY,” that came into my
     possession, and all documents and things that I have prepared relating thereto, to the
     outside counsel for the party by whom I am employed.




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6.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the
       Protective Order in this action.

I declare under penalty of perjury that the foregoing is true and correct.



        Signature

        Date




       UNM Rainforest Innovations v. Dell Technologies, Inc., et al.
       Undertaking re Protective Order
